10

il

12

13

14

15

16

1?

18

19 |,

20

21

22

23

24

25

26

  
 
 

GURG FLAG TL COMPLAINT
FPS gd eee :
BE Lae Pea a ]

 

Case 4:23-cv-00024-AW-MAF Document 1 Filed 01/17/23 Page 1 of 28

LOUIS MATTHEW CLEMENTS
1637 HENDRY ST.
FORT MYERS, FL 33901

Plaintiff, Pro Se

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA

TALLAHASSEE DIVISION
LOUIS MATTHEW CLEMENTS,
Plaintiff, Case No.: 44°23 ev 2Y¥- AW//NAF,
Vs.
COMPLAINT FOR DECLARATORY

RON DESANTIS, in his official -) AND EMERGENCY INJUNCTIVE

capaci as £0 vernor of Hlorida, and RELIEF

head of the Florida Legislature

ASHLEY MOODY, in her official

capacity as the Attorney General of

Florida, RICKY D, DIXON, in his

official ca apacity as ’ Secretary of Florida
Dept. of orrections,

Defendants.

 

ATTENTION JUDGE MARK E. WALKER
Plaintiff, Louis Matthew Clements, Pro Se (untrained in law), feels it is only
appropriate for the Chief Judge sit on this action. Plaintiff has a conflict of interest
with the Judges in his local Middle District of Florida, Fort Myers Div. for their refusal

to “liberally construe” pro se litigants briefs (See Case 2:20-cv-00310-JES-MRM

 

7

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 2 of 28

Document 75 Filed 01/13/21 Page 9 of 16 PageID 1138 where the Magistrate nitpicks
Plaintiffs pro se case citations calling them “inapposite”). This is after Plaintiff was
denied change of venue to be under the watchful eye of the chief justice (See Case
2:20-cv-00310-JES-MRM Document 53 Filed 09/11/20 Page 1 of 3 PageID 714).
That Court also failed to properly appoint counsel, especially when warranted.
See Plaintiff's Habeas Proceeding (2:17-CV-396-JLB-NPM), currently pending in the
11" Dist. Court of Appeals (21-12540-JJ), where they DID finally appoint counsel (for
the purposes of oral argument) in this potentially precedent setting case. Also
noteworthy is the fact that appointed counsel stood on his brief.
NATURE OF ACTION
1. Plaintiff challenges the Florida Sex Offender Registry a.k.a. the conditions
outlined in FL.S. § 943.0435 and FL.S. § 775.21. Plaintiff also challenges the
hidden sex Statute FL.S. § 741.0405 in relation to the registration laws. For the
following reasons, Plaintiff should be “immunized” from complying with FL.S. §
943.0435 and FL.S. § 775.21. He is as innocent as those immunized under FL.S. §
741.0405.
2. In public, Governor Ron DeSantis, head of the Florida Legislature, along with
Attorney General Ashley Moody fashions themselves as gladiators against sex
offenders, keeping the S.O. laws tough and offenders unable to vote (See

https://www.fdle.state.fl.us/News/2022/August/In-case-you-missed-it-F DLE-

 

COMPLAINT
2

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 3 of 28

arrests-convicted-murde and
https://www.myfloridalegal.com/newsrel.nsf/newsreleases/B84776A8F88AFESB8
52587A600674B 14.

Governor DeSantis crusades for traditional values, attempts to disenfranchise

many Florida citizens and run afoul of long protected civil rights in the name of

protecting children against gay people, gay teachings, and the word “gay”. He’s

waging a war on trans people, he thinks it’s okay to treat human beings like chattel,
moving immigrants all over the country, he’s anti-free speech, particularly the kind
of free speech that says the United States hasn’t always been great for non-white
people, he’s made it harder for protesters to speak out about injustice and easier for
anti-justice people to hit protesters with their cars, he has no interest in preventing
gun violence. He says, “We reject [this] woke ideology. We seek normalcy not
philosophical lunacy. We will not allow reality, facts, and truth to become optional.
We will never surrender to the woke mob. Florida is where woke goes to die,”. (See
https://apnews.com/article/ron-desantis-politics-florida-charlie-crist-

Sbba0f85d72f5e6efb8 8ce98d7eaes4d and

 

https://www.vanityfair.com/news/2022/12/ron-desantis-just-as-bad-as-donald-
trump-2024).
Yet he has allowed reality, facts and truth to become optional. And he wants us

not to be woken, but stay asleep, so we won’t notice... That some adults in his State

 

 

 

COMPLAINT
3

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 4 of 28

are immune to underage sex with a minor of presumably any age simply by
proposing marriage.

The State of Florida has arguably the harshest laws regarding sex offenses
involving adults having sex with minors. It has the longest prison minimums and
life-time registration regardless of the degree of the charge. It refuses to follow
SORNA tier structure because they are not as tough as the state’s guidelines.
Socially, your life is over, branded with the new scarlet letter. Stigmatized for life,
forced to live in certain zones, you may end up under a bridge or in the forest
somewhere:

Labeled, Sex offender,

Sexual Predator,

Violent felon of special concern,

Subject to involuntary, indefinite civil confinement under the Jimmy Rice

Act.
e. Face years of cognitive sex offender therapy.

a09 5

That is, unless you “pop the question” ....

Yes, since its inception 177 years ago, Florida is one of many States that
“immunize” certain adults to having sex with minors; or in other words, they allow
minors to marry, have sex and procreate with certain adults under a version of child
marriage laws. Prior to 2018 (the scope of Plaintiffs conviction), pregnant children
of any age in Florida could get married with a judge's permission. In 2018, Florida

addressed Child Marriage and made sweeping law changes but did not ban it

 

 

 

COMPLAINT
4

 
10

. 11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

a7

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 5 of 28

outright. (See https://www.reuters.com/article/us-usa-childmarriage-florida/florida-
approves-limit-but-not-ban-on-child-marriage-idUSKCNIGMOET). A study found
that between 2000 and 2019 there were 16,139 child marriages in Florida. 2,798
(17%) of those marriages would have met the definition of sex crimes if marital
exemption was not in place. None of those were prosecuted for sex crimes. (See
EX. A, https://www.jahonline.org/article/S1054-139X(21)00552-8/fulltext).
(Heretofore known as EX. A.). Plaintiff is as innocent as those immunized.

The requirements for the application under the child marriage exception are:

a. Pregnancy (any age minor at the time of Plaintiff?s conviction).

b. Certification of pregnancy by a doctor.

c. Permission from parent.

d. Permission from the Court.

It turns out that the State of Florida is quite “traditional” in nature. It could be
said Florida allows marriage “for love”, acceptable at any age. So, what sets the
immunized adults apart from “popping the question”? Take Sherry Johnson, star
witness, the godmother of child marriage reform, was born circa 1960. She was 9
when she began being raped by her 18-year-old pastor and 10 when the Court

allowed her, now pregnant, to marry the then 20-year-old (See EX. B

https://en.wikipedia.org/wiki/Sherry_ Johnson). (Heretofore known as EX. B.). In .

 

her book, Forgiving the Unforgivable, Johnson gave her negative opinion on child

marriage on the basis that children cannot enter into other legal contracts; "You

 

 

 

COMPLAINT
5

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

10.

11.

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 6 of 28

can't get a job, you can't get a car, you can't get a license, you can't sign a lease, so
why allow someone to marry when they're still so young?" Johnson also believes
that permitting child marriage allows rapists to escape the legal consequences of
their crimes by marrying their victims. Speaking on how she was forced to marry
the man who raped her, Johnson said, "No one actually protected me. They
protected him by putting the handcuffs on me, instead of putting the handcuffs on
him, and he was the rapist."

The State of Florida says that a minor of a certain age “cannot consent to sex”
with an adult. So, we can infer that, the marriage exception gives a parent the right
to consent for a minor child to have sex with an adult, correct? This too is incorrect.
(See https://www.cbsnews.com/miami/news/mother-arrested-for-pimping-out-teen-
daughter/). This woman got 3 years in prison for pimping out her teen daughter.
Who is to say the mother was not trying to get them pregnant so she could marry
them off? Was she asked this by the prosecutor?

Speaking of prosecutors, by not giving those adults convicted of sex offenses
with minors the option of marriage before being charged or offering it as a get-out-
of-jail-free-card, they are not disclosing exculpatory evidence in violation of Brady
v. Maryland, 373 U.S. 83 (1963) and due process under the 14 Amendment of the
Constitution. The prosecution has a constitutional duty of due process to disclose

material evidence favorable to a defendant. The Brady material has three

 

COMPLAINT
6

 
10
11
12
13
14
15
16
17
18
19
20
21

22
23
24
25
26
27

28

Case 4:23-cv-00024-AW-MAF Document 1 Filed 01/17/23 Page 7 of 28

components: “The evidence at issue must be favorable to the accused, either
because it is exculpatory, or because it is impeaching; that evidence must have been
suppressed by the State, either willfully or inadvertently: and prejudice must have
ensued”. Strickler v. Greene, 527 U.S. 263 (1999).

Florida’s Child Marriage exception is an unconstitutional “loophole”. Florida
cannot pick and choose who they criminally charge for statutory offenses, either
everyone is guilty of a crime, or no one is. The "nature of the charge" is not fully
developed of the "loophole" is not made available to all charged. The 6th
Amendment states "no indictment is sufficient if it does not allege "all the
ingredients" that constitute a crime. If an offense cannot be accurately and clearly
described without an allegation that the accused is not within an exception
contained in the statutes, an indictment that does not contain such an allegation is
defective.

FL.S. § 741.0405 is also an unlawful Bill of Attainder. The U.S. Constitution
provides that "[nJo Bill of Attainder or ex post facto Law shall be passed." US.
Const, art. I, § 9, cl. 3. A bill of attainder is "a law that legislatively determines guilt
and inflicts punishment upon an identifiable individual without provision of the
protections of a judicial trial." Nixon v. Adm'r of Gen. Servs., 433 US. 425, 468, 97
S.Ct. 2777, 2803, 53 L.Ed.2d 867 (1977).

The pertinent part of FL.S. § 741.0405 reads:

 

 

 

COMPLAINT
7

 
10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 8 of 28

When marriage license may be issued to persons under 18 years. —

(1) If either of the parties shall be under the age of 18 years but at least 16 years of age, the
county court judge or clerk of the circuit court shall issue a license for the marriage of such
party only if there is first presented and filed with him or her the written consent of the
parents or guardian of such minor to such marriage, acknowledged before some officer
authorized by law to take acknowledgments and administer oaths. However, the license shall
be issued without parental consent when both parents of such minor are deceased at the time
of making application or when such minor has been married previously.

(2) The county court judge of any county in the state may, in the exercise of his or her
discretion, issue a license to marry to any male or female under the age of 18 years, upon
application of both parties sworn under oath that they are the parents of a child.

(3) When the fact of pregnancy is verified by the written statement of a licensed physician,
the county court judge of any county in the state may, in his or her discretion, issue a license
to marry:

(a) To any male or female under the age of 18 years upon application of both parties sworn
under oath that they are the expectant parents of a child; or

(b) To any female under the age of 18 years and male over the age of 18 years upon the
female’s application sworn under oath that she is an expectant parent.

(4) No license to marry shall be granted to any person under the age of 16 years, with or
without the consent of the parents, except as provided in subsections (2) and (3).

15. Houston v. Williams 547 F.3d 1357 (11th Cir. 2008) is the precedent Appellant
needs to overcome to prove that FL.S. § 943.0435 and FL.S. § 775.21 are punitive
in nature as opposed to what the Statutes claim in their legislative intent, they are
“not a punishment, or a sentence, but regulatory”.

16. To definitively prove that the registration statutes FL.S. § 943.0435 and FL.S. §
775.21 are punitive in nature I compare consequences of violations of the statute of
conviction, FL.S. § 800.04(6)(b) with the hidden sex statute FL.S. § 741.0405,
a.k.a. Child Marriage Law, for the exact same crimes.

17. Prior to 2018 (the scope of Plaintiff's 2008 conviction), pregnant children of any

age in Florida could get married with 1) pregnancy 2) doctor certification of

 

COMPLAINT
8

 
10

il

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document 1 Filed 01/17/23 Page 9 of 28

pregnancy 3) parents’ permission 4) judge's permission. This results in a pardon
from registration under FL.S. § 943.0435 and FL.S. § 775.21.

18. Under Houston, FL.S. § 741.0405 is an unlawful Bill of Attainder. Arguendo,
we must assume that step 5) from above would amount to the Judge not granting
the marriage license and resulting in conviction and being subject to FL.S. §
943.0435 and FL.S. § 775.21. A single judge, without provision of the protections
of a judicial trial has the power to pardon or punish.

19. FL.S. § 741.0405 neither states legislative intent nor the source of the power to
pardon certain individuals from conviction and registration under FL.S. § 943.0435
and FL.S. § 775.21 or violate their “stated” legislative intent. The registry is
punishment.

20. Under Houston, “there is no rational relationship between the disparity of
treatment and some legitimate governmental purpose, and proceeds along suspect
lines”, an equal protection violation.

21. The question of whether the States Policy to Prosecute some adults for sex with
minors and yet, immunize others from the same or worse crimes under the Child
Marriage Laws FL.S. § 741.0405 violates equal protection is subject to rational
basis review. Kadrmas v. Dickinson Pub. Schs., 487 U.S. 450, 457-58, 108 S.Ct.
2481, 2487, 101 L.Ed.2d 399 (1988). Rational basis review in equal protection

analysis "is not a license for courts to judge the wisdom, fairness, or logic of

 

COMPLAINT
9

 
10
11
12
13
14
15
16
17
18
19
20

21
22
23
24
25
26
27

28

 

22.

23.

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 10 of 28

legislative choices." FCC v. Beach Commc'ns, Inc., 508 U.S. 307, 313, 113 S.Ct.
2096, 2100-01, 124 L.Ed.2d 211 (1993); see also Haves y, City of Miami, 52 F.3d
918, 921 (11th Cir. 1995).

However, that policy to Prosecute some adults for sex with minors and yet,
immunize others from the same or worse crimes under the Child Marriage Laws
FL.S. § 741.0405 affects fundamental rights and proceeds along suspect lines. “Nor
does it authorize "the judiciary [to] sit as a superlegislature to judge the wisdom or
desirability of legislative policy determinations made in areas that neither affect
fundamental rights nor proceed along suspect lines." City of New Orleans v. Dukes,
427 US. 297, 303, 96 S.Ct. 2513, 2517, 49 L.Ed.2d 511 (1976).”

FL.S. § 741.0405 States no legitimate governmental purpose with the States
policy to immunize some adults from sex with minors or worse crimes and there is
no rational relationship between the disparity of treatment between those who are
prosecuted under FL.S. § 800.04, FL.S. § 943.0435 and FL.S. § 775.21 and some
legitimate governmental purpose. Policy determinations "cannot run afoul of the
Equal Protection Clause if there is a rational relationship between the disparity of
treatment and some legitimate governmental purpose." Heller v. Doe, 509 U.S. 312,

320, 113 S.Ct. 2637, 2642, 125 L.Ed.2d 257 (1993).

 

 

COMPLAINT
10

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 11 of 28

24. Since the Statutes are unconstitutional, Plaintiff's 7 VOP while he was on
probation from 2008 to 2013 were unconstitutional under the fourth amendment as
no probable cause existed.

25. Since the Statutes are unconstitutional, probable cause did not exist to initially
arrest Plaintiff for any crime. Another 4" Amendment violation.

26. The Child Marriage exception is in direct violation of the spirit of Florida’s
Savings Clause. The “Savings Clause” - Article X, section 9 - was added to the
Florida Constitution in 1885. It reads, “Repeal or amendment of a criminal statute
shall not affect prosecution or punishment for any crime previously committed,”
which has been interpreted to mean that ameliorative changes to criminal laws may
not be applied retroactively. The Savings Clause was a response to a high-profile
case in which a man who was charged with assault could not be prosecuted because
the legislature repealed the assault statute and failed to “save” prosecutions of
offenses committed before the repeal.

27. The spirit of the Clause is to prevent one statute, through amendment or repeal,
to “save” someone convicted of a crime under that statute or another one. It is plain
to see, the Child Marriage exception “saves” those that would normally be
convicted under sex offender laws from being convicted.

28. Plaintiff brings this action under 42 U.S.C. § 1983 against Defendants’ unlawful

deprivation of Plaintiffs’ rights under the Fourth, sixth and Fourteenth Amendments

 

COMPLAINT
11

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 12 of 28

to the United States Constitution. This Court can exercise its jurisdiction under §
1983 for several reasons:

His conviction has expired.

He is NOT challenging his conviction.

He is NOT challenging his sentence*.

He is NOT challenging the statute of conviction.

He is NOT asking for monetary damages.

He is asking to be “immunized” in accordance with others who
have been immunized. (See 14 Amendment US Const.).

7. FL.S. § 943.0435 and FL.S. § 775.21 are not punishments.

AARWN

* § 943.0435(e)(12) The designation of a person as a sexual offender is not a
sentence or a punishment but is simply the status of the offender which is the result
of a conviction for having committed certain crimes.

29. Alternatively, since Habeas Relief is currently unavailable to Plaintiff (See 2:17-
CV-396-JLB-NPM), this Court can also allow Plaintiff to challenge the statute of
conviction FL.S. § 800.04(6)(b) and exercise jurisdiction over this case under 42
U.S. CODE § 1983 if the Court finds the “favorable determination” standard in
Heck v. Humphrey et al 512 U.S. 477 (1994) 114 S. Ct. 2364 can also be overcome.
All pleadings "must be construed so as to do justice." Fed. R. Civ. P. 8(e). That
command applies with greatest force in cases filed by pro se litigants, whose filings
are liberally construed and whose complaints, "however inartfully pleaded”, must
be held to less stringent standards than formal pleadings drafted by lawyers.

Erickson v. Pardus, 551 U.S. 89, 94 (2007) (quotation marks omitted). Liberal

 

COMPLAINT
12

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 13 of 28

construction, in more concrete terms, means that federal courts must sometimes
look beyond the labels used in a pro se party's complaint and focus on the content
and substance of the allegations. See Means v. Alabama, 209 F.3d 1241, 1242 (11th
Cir. 2000) ("[F]ederal courts must look beyond the labels of motions filed by pro se
inmates to interpret them under whatever statute would provide relief.").

30. The 11th Circuit HAS clearly “weighed in” and his case DOES meet the

qualifications to adopt the exception in Spencer, according to Reilly and Harden.
Harden v. Pataki, 320 F. 3d 1289 (11th Cir. 2003) (Heck does not bar an action if a
habeas remedy is unavailable) VS. Reilly v. Herrera, 622 Fed. Appx. 832 (11th Cir.
2015) (must demonstrate diligence through ‘exhaustion of state remedies’).

31. This Court can join the circuits that have reached this conclusion based on the
Supreme Court's subsequent decision in Spencer v. Kemna, 523 U.S. 1, 118 S.Ct.
978, 140 L.Ed.2d 43 (1998). See, e.g., Wilson v. Johnson, 535 F.3d 262, 266-68
(4th Cir. 2008); Powers v. Hamilton Cnty. Pub. Defender Comm'n, 501 F.3d 592,
603 (6th Cir. 2007); Harden v. Pataki, 320 F.3d 1289, 1298-99 (11th Cir. 2003);
Nonnette v. Small, 316 F.3d 872, 876-77 (9th Cir. 2002); Huang v. Johnson, 251
F.3d 65, 75 (2d Cir. 2001); Carr v. O'Leary, 167 F.3d 1124, 1127 (7th Cir. 1999).
In Spencer, a majority of the Court affirmed the dismissal for mootness of a habeas
claim brought by a petitioner who was no longer in custody because the petitioner

had failed to show that he suffered continuing collateral consequences from his

 

COMPLAINT
13

 

 
10
11
12
13
14
15
16
17
18
19
20
21

22
23
24
25
26
27

28

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 14 of 28

parole revocation following his release. Id. at 14-16, 118 S.Ct. 978.Ina
concurrence, four Justices articulated an additional reason why this result was
correct — "a former prisoner, no longer ‘in custody,’ may bring a § 1983 action
establishing the unconstitutionality of a conviction or confinement without being
bound to satisfy a favorable-termination requirement that it would be impossible as
a matter of law for him to satisfy," and thus "the answer to Spencer's argument that
his habeas claim cannot be moot because Heck bars him from relief under § 1983 is
that Heck has no such effect." Jd. at 21, 118 S.Ct. 978 (Souter, J., concurring).
JURISDICTION AND VENUE

32. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343, in that this
action seeks to redress the deprivation, under color of laws, statutes, and usages by
the Defendants as they execute, administer, and enforce the complained-of laws, of
the rights, privileges or immunities secured by the United States Constitution and
by Acts of Congress.

33. This Court has jurisdiction to grant declaratory relief pursuant to 28 U.S.C. §§
2201 and 2202.

34. This Court has personal jurisdiction over the Defendants Ron DeSantis, the
Governor of Florida, Ashley Moody and Ricky D. Dixon, who are sued in their

official capacities as elected and appointed government officials because, inter alia,

 

COMPLAINT
14

 

 
10

Li

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 15 of 28

they act under the color of laws, policies, customs and/or practices of the State of
Florida and/or within the geographic confines of and reside in the State of Florida.
35. Venue is proper pursuant to 28 U.S.C. Code § 1391, because the Defendants
execute, administer and enforce the complained-of laws against Plaintiff in this
District, and because the events giving rise to this action are harming Plaintiff in
this District.
PARTIES
36. Plaintiff, pro se, Louis Matthew Clements is a United States Citizen, and a
resident of Fort Myers, Florida. In 2007, Mr. Clements had what was described by
the minor “victim” as a 9-month consensual, romantic relationship, initiated by the
victim, until she became jealous of his traveling back and forth to NYC for
auditions, accused him of being unfaithful, and turned him into authorities out of
spite. In 2008, he was convicted through a coerced plea deal of one 2" Degree
felony of Lewd and Lascivious Conduct a.k.a. FL.S. § 800.04(6)(b) and sentenced
~ to Sex Offender Probation for a term of 5 years. He is subject to lifetime
registration on the Florida Sex Offender Registry and the conditions outlined in
FL.S. § 943.0435 and FL.S. § 775.21. Since being sentenced, Plaintiff has filed
countless state and Federal Cases in order to fight his conviction. During that time,
The State could have cleared him and revealed to him the exculpatory evidence

revealed in this suit. They have not. They continue to conceal it.

 

COMPLAINT
15

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 16 of 28

37. ADDITIONALLY, while Plaintiff was on sex offender probation from 2008-
2013 as a consequence of his conviction, he served 240 days needlessly in jail for 7
trumped up VOP related to his defective ankle monitor. He filed several state and
Federal Cases over those, always to no avail. No court ever appointed counsel and
no paid attorneys ever accepted pro bono representation. This is a conspiracy.

38. Defendant RON DESANTIS is the Governor of Florida. In DeSantis’s official
capacity, he is the chief executive of the government of Florida and the chief
administrative officer of the state and serves as chair when the Governor and the
Florida Cabinet sit as a decision-making body in various constitutional roles. The
Governor has the power to execute Florida's laws. The Governor also has the power
of reorganization through executive order.

39, Defendant ASHLEY MOODY is the Attorney General of Florida. In Moody’s
official capacity, Moody is the State's Chief Legal Officer and head of the Florida
Department of Legal Affairs. In that capacity, Moody is presently enforcing the
laws, customs, practices and policies complained of in this action.

40. Defendant RICKY D. DEXON is the Secretary of the State of Florida
Department of Corrections. In Inch’s official capacity, the Department of
Corrections has “supervisory and protective care, custody, and control of the
inmates, buildings, grounds, property, and all other matters pertaining to the

following facilities and programs for the imprisonment, correction, and

 

COMPLAINT
16

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 17 of 28

rehabilitation of adult offenders: (a) Department of Corrections adult correctional
institutions; (b) Department of Corrections youthful offender institutions; (c)
Department of Corrections Mental Health Treatment Facility; (d) Department of
Corrections Probation and Restitution Center; (ec) Department of Corrections
community correctional centers; and (f) Department of Corrections vocational

centers.” FLA. STAT. ANN. § 945.025(1).

RE: RELATED CASES

Al.

42.

On 7/12/2022, Plaintiff filed a “successive 3.850” post-conviction relief,
coupled with a motion to appoint regional counsel regarding the underlying
conviction in the court of conviction, 20" Judicial Circuit Court in and For Lee
County Florida, unaware that the State had blocked his access to use the Court pro

se for no apparent reason:

07/20/2015 Order to Show Cause Filed 11 a
Why Def. Should Not be Prohibited From Filing Any Further Pro Se
Motions

07/23/2015 Response Filed 4 a

Response to Order to Show Cause/ Pro Se

07/24/2015 Order from 2nd DCA Filed 4 &
Motion for Rehearing or Rehearing En Banc is Denied

08/06/2015 Order Filed 40 a
Prohibiting def. from filing any further pro se motions

08/06/2015 Pro- Se Pleading Prohibited Per Judges Order

 

The trial court predictably ignored both his 3.850 and motion to appoint counsel.

Therefore, on 12/28/2022, Plaintiff filed the 3.850 and an emergency injunction

 

 

COMPLAINT
17

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 4:23-cv-00024-AW-MAF Document 1. Filed 01/17/23 Page 18 of 28

enjoining the State from further enforcing the conviction against him in the Florida
Supreme Court, hoping the Court would accept it as the 3.850 under the guise of it
being a habeas corpus “by nature”. The Court accepted filing as case# SC22-1800,
construing is as a Habeas Corpus. Plaintiff has heard nothing from the court, and
they have ignored his pleas to immediately issue the injunction EVEN after being
harassed by the Florida Sheriff Dept. (See Fl. Sup. Ct. Online docket
https://onlinedocketssc.flcourts.org/).

On 1/ 12/2023, the supreme Court then re-construed SC22-1800 from habeas to
mandamus and transferred it to the 6" cir. ct. of Ap.. pursuant to Harvard v.
Singletary, 733 So. 2d 1020 (Fla. 1999). For all the ways contained in the dissent of
Harvard, The Florida Supreme Courts handling of this case is laughable. They
sluffed off the most important case in 177 years saying they lack the resources and
facilities to conduct fact finding. There is NO fact finding or hearing needed in this
case. They are stalling and purposefully putting Plaintiff in great danger.

Plaintiff is challenging Statutes FL.S. § 741.0405, FL.S. § 943.0435 and FLS. §
775.21. The State says these statutes are the punishments due to Plaintiffs violation
of FL.S. § 800.04(6)(b). Plaintiff is NOT challenging the statute of conviction. For
that reason and the following reasons, this suit does not run afoul of either the

Younger abstention or the Rooker—Feldman doctrine.

 

 

 

COMPLAINT
18

 
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 19 of 28

45. Plaintiff’s conviction is in bad faith. Florida does not care. They have had 14

years to care. By continuing the conviction, they harass him needlessly. The State is
too biased to reverse his conviction. The State of Florida has blatantly violated
Plaintiffs constitutional rights since conviction, post-conviction to present. The
State is now harassing him through the Local Sheriff Dept. Therefore, Younger v.

Harris, 401 U.S. 37, 54 (1971) should NOT apply.

46. “Younger abstention” applies when three factors are present: (1) there is an

ongoing state proceeding; (2) the claim raises important state interests; and (3) the
state proceedings provide an adequate opportunity to raise the federal constitutional
claims. YET. Federal courts have recognized that Younger's limitation on enjoining
pending state criminal prosecutions has a few exceptions, where: (1) there is
evidence of state proceedings motivated by bad faith; (2) irreparable injury would
occur; or (3) there is no adequate alternative state forum where the constitutional

issues can be raised. Hughes v. Att'y Gen. of Fla., 377 F.3d 1258, 1263 n.6 (11th

 

Cir. 2004). Irreparable injury may be demonstrated upon a showing of "bad faith"
or "harassment" by state officials responsible for the prosecution, or of a state law
to be applied in criminal proceedings that flagrantly and patently violates express
constitutional prohibitions, or of other extraordinary circumstances resulting in
irreparable injury, even without bad faith or harassment. Jd, at 1263 n.7.

"Extraordinary circumstances" encompasses, but is not limited to, situations where

 

 

 

COMPLAINT
19

 
10

il

12

13

14

15

16

174

' 18

19
20
21
22
23
24
25
26
27

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 20 of 28

a statute flagrantly and patently violates express constitutional prohibitions or
where the state decisionmaker was too biased to adjudicate the issues before it. See
id.

47. Plaintiffs’ suit also does not run afoul of the Rooker-Feldman doctrine. The
Rooker-Feldman doctrine applies when the losing party in state court sues in
federal court seeking review of a state court judgment after the state court
proceedings had ended. Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 US.
280, 284 (2005). Exxon Mobil, 544 US. at 283 (“[T]he [Rooker—Feldman| doctrine
has sometimes been construed to extend far beyond the contours of the Rooker and
Feldman cases.”); Target Media, 881 F.3d at 1285 (“More recently, the Supreme
Court concluded that the inferior federal courts had been applying Rooker—Feldman
too broadly.”). In hewing closely to Exxon Mobil, the Eleventh Circuit now applies
Rooker-Feldman only when a party who lost in state court asks a federal court to
review and reject a state court’s judgment. Jd. at 1285 — 86. In short, [federal]
courts should keep one thing in mind when Rooker-Feldman is raised: it will almost
never apply. Behr v. Campbell, 8 F.4th 1206, 1212 (11th Cir. 2021). Plaintiff is not
bringing in to question a State Court Final Judgement, he is doing so in his State

Supreme Court Habeas proceeding 22SC-1800, therefore the doctrine should NOT

apply.

 

COMPLAINT
20

 

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 21 of 28

CLAIMS
COUNT ONE

48. Plaintiff asserts a claim pursuant to 42 U.S.C. § 1983 for violation of the Fourth,
Fifth, Sixth and Fourteenth Amendment’s to the U.S. Constitution, which renders
the statutes unconstitutional.

49. Title 42 U.S.C. Code § 1983 provides that "every person" who acts under color
of state law to deprive another of a constitutional right shall be answerable to that
person in a suit for damages.

COUNT TWO

50. Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of the Fifth
and Fourteenth Amendment to the U.S. Constitution.

51. The Fifth Amendment and Fourteenth Amendment to the United States
Constitution declare that governments cannot deprive any person of "life, liberty, or
property" without due process of law. The Eighth Amendment (Amendment VII)
of the United States Constitution prohibits the federal government from imposing
excessive bail, excessive fines, or cruel and unusual punishment. The U.S. Supreme
Court has ruled that this amendment's Cruel and Unusual Punishment Clause also

applies to the states.

 

COMPLAINT
21

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 22 of 28

52. The Fourteenth Amendment to the U.S. Constitution forbids states from
“deny[ing] to any person within its jurisdiction the equal protection of the laws.”
U.S. CONST. amend. XIV, § 1.

53. Defendants, acting under color of state law, have deprived Plaintiff of his right
to protection from unconstitutional search and seizure during his arrest that lacked
probable cause.

CLAIM THREE

54. Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of the Fourth
Amendment to the U.S. Constitution.

55. The Fourth Amendment to the United States Constitution protects “the right of
the people to be secure in their persons, houses, papers, and effects, against
unreasonable searches and seizures, shall not be violated, and no Warrants shall
issue, but upon probable cause, supported by Oath or affirmation, and particularly
describing the place to be searched, and the persons or things to be seized”.

CLAIM FOUR

56. Plaintiffs assert a claim pursuant to 42 U.S.C. § 1983 for violation of the Sixth
Amendment to the US. Constitution.

57, The Sixth Amendment to the US Constitution States, “The constitutional right to
be informed of the nature and cause of the accusation entitles the defendant to insist

that the indictment apprise him of the crime charged with such reasonable certainty

 

COMPLAINT
22

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 23 of 28

that he can make his defense and protect himself after judgment against another
prosecution on the same charge. United States v. Cruikshank, 92 U.S. 542, 544, 558
(1875); United States v. Simmons, 96 U.S. 360 (1877); Bartell v. United States, 227
U.S. 427 (1913); Burton v. United States, 202 U.S. 344 (1906). No indictment is
sufficient if it does not allege all of the ingredients that constitute the crime. Where
the language of a statute is, according to the natural import of the words, fully
descriptive of the offense, it is sufficient if the indictment follows the statutory
phraseology, Potter v. United States, 155 U.S. 438, 444 (1894), but where the
elements of the crime have to be ascertained by reference to the common law or to
other statutes, it is not sufficient to set forth the offense in the words of the statute.
The facts necessary to bring the case within the statutory definition must also be
alleged. United States v. Carll, 105 U.S. 611 (1881). If an offense cannot be
accurately and clearly described without an allegation that the accused is not within
an exception contained in the statutes, an indictment that does not contain such
allegation is defective. United States v. Cook, 84 U.S. (17 Wall.) 168, 174 (1872).
Despite the omission of obscene particulars, an indictment in general language is
good if the unlawful conduct is described so as reasonably to inform the accused of
the nature of the charge sought to be established against him. Rosen v. United
States, 161 U.S. 29, 40 (1896). The Constitution does not require the government to

furnish a copy of the indictment to an accused. United States v. Van Duzee, 140

 

 

 

COMPLAINT
23

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 24 of 28

U.S. 169, 173 (1891). The right to notice of accusation is so fundamental a part of
procedural due process that the states are required to observe it. Jn re Oliver, 333
U.S. 257, 273 (1948); Cole v. Arkansas, 333 U.S. 196, 201 (1948); Rabe v.
Washington, 405 U.S. 313 (1972).

CLAIM FIVE

58. Plaintiff fully incorporates #’s 18 and 19 from above as fully incorporated
within.

59. Plaintiff asserts a claim pursuant to 42 U.S.C. § 1983 for violation of U.S.
Const, art. I, § 9, cl. 3 as unlawful Bill of Attainder and ex post facto Law.

60. U.S. Const, art. I, § 9, cl. 3 reads that "[n]o Bill of Attainder or ex post facto
Law shall be passed." A bill of attainder is "a law that legislatively determines guilt
and inflicts punishment upon an identifiable individual without provision of the
protections of a judicial trial." Nixon v. Adm'r of Gen. Servs., 433 U.S. 425, 468, 97
S.Ct. 2777, 2803, 53 L.Ed.2d 867 (1977).

61. FL.S. § 741.0405 in relation to FL.S. § 943.0435 and FL.S. § 775.21 singles out
ascertainable members of a group who alone are subject to its provisions and
inflicts punishment on them without judicial action, and thus, the Policy is an

unlawful bill of attainder under the U.S. and Florida Constitutions.

 

COMPLAINT
24

 
10

11

12

13

14

15

16

i7

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 25 of 28

CLAIM SIX

62. Plaintiff asserts a claim pursuant to FL.S. § 760.01 for violation of direct
violation of the spirit of Florida’s Savings Clause. The “Savings Clause”

63.  FL.S. § 741.0405 has been amended many times over the years. It currently
“saves” those convicted under the Florida sex offender statutes (specifically FL.S. §
800.04(6)(b)) from being subject to registration under FL.S. § 943.0435 and FL.S. §
775.21.

64. Article X, section 9 - was added to the Florida Constitution in 1885. It reads,
“Repeal or amendment of a criminal statute shall not affect prosecution or
punishment for any crime previously committed,” which has been interpreted to
mean that ameliorative changes to criminal laws may not be applied retroactively.
The Savings Clause was a response to a high-profile case in which a man who was
charged with assault could not be prosecuted because the legislature repealed the
assault statute and failed to “save” prosecutions of offenses committed before the
repeal.

PRAYER FOR RELIEF

65. Acontroversy exists on whether FL.S. § 741.0405, FL.S. § 943.0435 and FL.S.
§ 775.21 are constitutional. Without such relief, the Defendants in every county in
Florida will continue as they do now, running roughshod over Plaintiff, arresting

him without probable cause and without any penalty or checks and balances.

 

COMPLAINT
25

 

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 26 of 28

66. A declaration from this Court would settle this issue.

67. A declaration from this Court would also serve a useful purpose in clarifying the
legal issues in dispute.

68. This Court could Order Governor DeSantis to use his executive power to
reorganize/clarify/rework FL.S. § 741.0405, FL.S. § 943.0435 and FL.S. § 775.21
they are Constitutional.

69. In the absence of an injunction, FL.S. § 741.0405, FL.S. § 943.0435 and FL.S. §
775.21 would continue to be enforced unfettered against Plaintiff.

70.  Injunctive Relief by this Court enjoining the State Courts from enforcing this
statute would allow him to lawfully sue for malicious prosecution.

71. The Plaintiff would continue to suffer irreparable harm if this Court does not
issue an injunction.

72. There is no remedy at law because only a declaration and injunction would
allow Plaintiff to be free of ongoing unconstitutional harassment by the State. To
continue to force Petitioner to comply with FL.S. § 943.0435 and FL.S. § 775.21 is
tantamount to bad faith, harassment by a State governing body too biased to
adjudicate the issues before it. Hughes v. Att'y Gen. of Fla., 377 F.3d 1258, 1263
n.6 (11th Cir. 2004).

WHEREFORE, Plaintiff prays that this Honorable Court:

 

COMPLAINT
26

 

 
10

11]

12

13

14

15

16

17

18

19

20

2i

22

23

24

25

26

27

28

 

 

Case 4:23-cv-00024-AW-MAF Document1 Filed 01/17/23 Page 27 of 28

1. As this complaint is obviously unconstitutional on its face, Issue
immediate emergency preliminary, temporary and permanent
injunctions enjoining Defendants, DeSantis, Moody and Dixon,
in their respective capacities, from enforcing FL.S. § 741.0405,
FL.S. § 943.0435 and FL.S. § 775.21 against Plaintiff.

2. Enter the following:

(a) A declaratory judgment that FL.S. § 741.0405, FL.S. §
943.0435 and FL.S. § 775.21 and all other related Florida
laws are null and void because they (1) violate the civil rights
protection guaranteed by the Constitution and (ii) infringe
upon the people’s rights to be free from unlawful search,
seizure and confinement by any Florida State law
enforcement agent; and

(b) Issue preliminary and permanent injunctions against
the Defendants and the pertinent judicial officers in the
Judicial Branch of Florida, from enforcement of FL.S. §
741.0405, FL.S. § 943.0435 and FL.S. § 775.21 and all other
related Florida statutory language against Plaintiff.

3. Grant such other and further relief, in law and equity, as the

Court deems just and proper.

 

Respectfully submitted,

Dated: 1/11/2023 By:

 

LOUIS MATTHEW CLEMENTS
Plaintiff, Pro se

 

COMPLAINT
27

 

 
 

 

led. 01/17/23 Page 28 of 28

 

ocument1 F

AG D

 

AW-M

    

Ns

Othe 2202

Mh

S s0lryioo0z =
62/e1/1o
@ 1oeze siseq
= zieee :bu0
620d 4WOd
p9'9$
35vLls0d ‘s‘n

        

 
